Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 1 of 47




         Trager Decl. A
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 2 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 3 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 4 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 5 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 6 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 7 of 47




             Appendix A
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 8 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 9 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 10 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 11 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 12 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 13 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 14 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 15 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 16 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 17 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 18 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 19 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 20 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 21 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 22 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 23 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 24 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 25 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 26 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 27 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 28 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 29 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 30 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 31 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 32 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 33 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 34 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 35 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 36 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 37 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 38 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 39 of 47




              Appendix B
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 40 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 41 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 42 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 43 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 44 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 45 of 47
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 46 of 47




              Appendix C
Case 1:06-cv-15436-JSR-KNF Document 94-1 Filed 06/10/11 Page 47 of 47
